                           Case 24-35056 Document 19 Filed in TXSB on 12/06/24 Page 1 of 50
 Fill in this information to identify your case:

  Debtor 1                  Charles                 Littleton              Fridge, III
                           First Name              Middle Name            Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name            Last Name

  United States Bankruptcy Court for the:                 Southern               District of      Texas

  Case number              24-35056
  (if known)                                                                                                                      ✔ Check if this is an
                                                                                                                                  ❑
                                                                                                                                       amended filing


Official Form 104

For Individual Chapter 11 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims Against You and Are Not Insiders         12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or Chapter 13,
do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners; relatives of any
general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person in control, or owner of 20
percent or more of their voting securities; and any managing agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101.
Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate collateral value places the creditor among the
holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

     Part 1:            List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.


                                                                                                                                    Unsecured claim

 1    AMERICAN EXPRESS                                          What is the nature of the claim?       Other                                 $403,464.00
      Creditor’s Name                                           As of the date you file, the claim is: Check all that apply.
      PO Box BOX 6031                                           ❑ Contingent
      Number              Street                                ❑ Unliquidated
                                                                ❑ Disputed
                                                                ✔ None of the above apply
                                                                ❑
      Carol Stream, IL 60197
                                                                Does the creditor have a lien on your property?
      City                    State                ZIP Code
                                                                ✔ No
                                                                ❑
      Contact
                                                                ❑ Yes. Total claim (secured and unsecured):
                                                                        Value of security:

      Contact phone                                                     Unsecured


 2    FROST BANK                                                What is the nature of the claim?       Term Loan                             $172,139.99
      Creditor’s Name                                           As of the date you file, the claim is: Check all that apply.
      PO Box 34746                                              ❑ Contingent
      Number              Street                                ❑ Unliquidated
                                                                ❑ Disputed
                                                                ✔ None of the above apply
                                                                ❑
      San Antonio, TX 78265
                                                                Does the creditor have a lien on your property?
      City                    State                ZIP Code
                                                                ✔ No
                                                                ❑
      Contact
                                                                ❑ Yes. Total claim (secured and unsecured):
                                                                        Value of security:

      Contact phone                                                     Unsecured




Official Form 104                  For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                      page 1
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Debtor 1       Charles               Littleton            Fridge, III                          Case number (if known) 24-35056
            First Name              Middle Name          Last Name

                                                                                                                                 Unsecured claim

 3   AMERICAN EDUCATION SERVICES                         What is the nature of the claim?       Student loans                            $44,981.00
     Creditor’s Name                                     As of the date you file, the claim is: Check all that apply.
     PO Box 2461                                         ❑ Contingent
     Number            Street                            ❑ Unliquidated
                                                         ❑ Disputed
                                                         ✔ None of the above apply
                                                         ❑
     Harrisburg, PA 17105
                                                         Does the creditor have a lien on your property?
     City                  State            ZIP Code
                                                         ✔ No
                                                         ❑
     Contact
                                                         ❑ Yes. Total claim (secured and unsecured):
                                                                 Value of security:

     Contact phone                                               Unsecured

 4   BANK OF AMERICA                                     What is the nature of the claim?       Other                                    $23,012.00
     Creditor’s Name                                     As of the date you file, the claim is: Check all that apply.
     PO Box 660710                                       ❑ Contingent
     Number            Street                            ❑ Unliquidated
                                                         ❑ Disputed
                                                         ✔ None of the above apply
                                                         ❑
     Dallas, TX 75266
                                                         Does the creditor have a lien on your property?
     City                  State            ZIP Code
                                                         ✔ No
                                                         ❑
     Contact
                                                         ❑ Yes. Total claim (secured and unsecured):
                                                                 Value of security:

     Contact phone                                               Unsecured

 5                                                       What is the nature of the claim?
     Creditor’s Name                                     As of the date you file, the claim is: Check all that apply.
                                                         ❑ Contingent
     Number            Street
                                                         ❑ Unliquidated
                                                         ❑ Disputed
                                                         ❑ None of the above apply
     City                  State            ZIP Code     Does the creditor have a lien on your property?
                                                         ❑ No
     Contact                                             ❑ Yes. Total claim (secured and unsecured):
                                                                 Value of security:
     Contact phone                                               Unsecured

 6                                                       What is the nature of the claim?
     Creditor’s Name                                     As of the date you file, the claim is: Check all that apply.
                                                         ❑ Contingent
     Number            Street
                                                         ❑ Unliquidated
                                                         ❑ Disputed
                                                         ❑ None of the above apply
     City                  State            ZIP Code     Does the creditor have a lien on your property?
                                                         ❑ No
     Contact                                             ❑ Yes. Total claim (secured and unsecured):
                                                                 Value of security:
     Contact phone                                               Unsecured



Official Form 104               For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                   page 2
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Debtor 1        Charles               Littleton            Fridge, III                          Case number (if known) 24-35056
               First Name            Middle Name          Last Name

                                                                                                                                  Unsecured claim

19                                                        What is the nature of the claim?
      Creditor’s Name                                     As of the date you file, the claim is: Check all that apply.
                                                          ❑ Contingent
      Number            Street
                                                          ❑ Unliquidated
                                                          ❑ Disputed
                                                          ❑ None of the above apply
      City                  State            ZIP Code     Does the creditor have a lien on your property?
                                                          ❑ No
      Contact                                             ❑ Yes. Total claim (secured and unsecured):
                                                                  Value of security:
      Contact phone                                               Unsecured

20                                                        What is the nature of the claim?
      Creditor’s Name                                     As of the date you file, the claim is: Check all that apply.
                                                          ❑ Contingent
      Number            Street
                                                          ❑ Unliquidated
                                                          ❑ Disputed
                                                          ❑ None of the above apply
      City                  State            ZIP Code     Does the creditor have a lien on your property?
                                                          ❑ No
      Contact                                             ❑ Yes. Total claim (secured and unsecured):
                                                                  Value of security:
      Contact phone                                               Unsecured

     Part 2:        Sign Below




      Under penalty of perjury, I declare that the information provided in this form is true and correct.



      ✘               /s/ Charles Littleton Fridge, III                            ✘
             Signature of Debtor 1                                                       Signature of Debtor 2


             Date       12/06/2024                                                       Date
                    MM / DD / YYYY                                                              MM / DD / YYYY




Official Form 104                For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                   page 6
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 Fill in this information to identify your case and this filing:

  Debtor 1                 Charles                      Littleton                    Fridge, III
                           First Name                  Middle Name                  Last Name

  Debtor 2
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                        Southern                    District of           Texas

  Case number             24-35056                                                                                                                                     ✔ Check if this is an
                                                                                                                                                                       ❑ amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ❑ No. Go to Part 2.
        ✔ Yes. Where is the property?
        ❑
                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1      2127 Milford                                     ✔ Single-family home
                                                                  ❑                                                                     the amount of any secured claims on Schedule D:
                Street address, if available, or other            ❑ Duplex or multi-unit building                                       Creditors Who Have Claims Secured by Property.
                description                                       ❑ Condominium or cooperative                                         Current value of the            Current value of the
                                                                  ❑ Manufactured or mobile home                                        entire property?                portion you own?
                                                                  ❑ Land
                                                                  ❑ Investment property                                                          $1,800,000.00               $1,800,000.00
                 Houston, TX 77006                                ❑ Timeshare                                                          Describe the nature of your ownership interest
                                                                  ❑ Other
                City               State         ZIP Code
                                                                                                                                       (such as fee simple, tenancy by the entireties, or
                 Harris                                           Who has an interest in the property? Check one.                      a life estate), if known.
                County                                            ❑ Debtor 1 only                                                       Residential Property
                                                                  ❑ Debtor 2 only
                                                                  ❑ Debtor 1 and Debtor 2 only                                         ✔ Check if this is community property
                                                                                                                                       ❑
                                                                  ✔ At least one of the debtors and another
                                                                  ❑                                                                         (see instructions)

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
        you have attached for Part 1. Write that number here ...................................................................................................
                                                                                                                                                                             $1,800,000.00



  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑ No
           ✔ Yes
           ❑



Official Form 106A/B                                                                Schedule A/B: Property                                                                             page 1
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Debtor Charles Littleton Fridge III                                                            Case number (if known) 24-35056



       3.1   Make:                   Chevrolet     Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put
                                                   ✔ Debtor 1 only
                                                   ❑                                                  the amount of any secured claims on Schedule D:
             Model:                  Suburban      ❑ Debtor 2 only                                    Creditors Who Have Claims Secured by Property.
                                                   ❑ Debtor 1 and Debtor 2 only                      Current value of the        Current value of the
             Year:                   2019          ❑ At least one of the debtors and another         entire property?            portion you own?

             Approximate mileage:    75,000        ❑ Check if this is community property (see                  $20,000.00                 $20,000.00
                                                          instructions)
             Other information:




       If you own or have more than one, describe here:

       3.2   Make:                   Chevrolet     Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put
                                                   ✔ Debtor 1 only
                                                   ❑                                                  the amount of any secured claims on Schedule D:
             Model:                  Silverado     ❑ Debtor 2 only                                    Creditors Who Have Claims Secured by Property.
                                                   ❑ Debtor 1 and Debtor 2 only                      Current value of the        Current value of the
             Year:                   2014          ❑ At least one of the debtors and another         entire property?            portion you own?

             Approximate mileage:    140,000       ❑ Check if this is community property (see                   $4,000.00                   $4,000.00
                                                          instructions)
             Other information:




       3.3                           Honda         Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put
             Make:
                                                   ✔ Debtor 1 only
                                                   ❑                                                  the amount of any secured claims on Schedule D:
             Model:                  Civic         ❑ Debtor 2 only                                    Creditors Who Have Claims Secured by Property.
                                                   ❑ Debtor 1 and Debtor 2 only                      Current value of the        Current value of the
             Year:                   2018          ❑ At least one of the debtors and another         entire property?            portion you own?

             Approximate mileage:    165,000       ❑ Check if this is community property (see                  $20,000.00                 $20,000.00
                                                          instructions)
             Other information:




       3.4                           Ford          Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put
             Make:
                                                   ✔ Debtor 1 only
                                                   ❑                                                  the amount of any secured claims on Schedule D:
             Model:                  F150          ❑ Debtor 2 only                                    Creditors Who Have Claims Secured by Property.
                                                   ❑ Debtor 1 and Debtor 2 only                      Current value of the        Current value of the
             Year:                   2022          ❑ At least one of the debtors and another         entire property?            portion you own?

             Approximate mileage:    22,000        ❑ Check if this is community property (see                  $65,000.00                 $65,000.00
                                                          instructions)
             Other information:




Official Form 106A/B                                                 Schedule A/B: Property                                                      page 2
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Debtor Charles Littleton Fridge III                                                                                         Case number (if known) 24-35056



       3.5     Make:                     Aston Martin            Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
               Model:                          DBS               ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
               Year:                           2020              ❑ At least one of the debtors and another                            entire property?                portion you own?

               Approximate mileage:            25,000            ✔ Check if this is community property (see
                                                                 ❑                                                                                $170,000.00                 $170,000.00
                                                                      instructions)
               Other information:




       3.6     Make:                           Ford              Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
               Model:                          F350              ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
               Year:                           2023              ❑ At least one of the debtors and another                            entire property?                portion you own?

               Approximate mileage:            6,000             ✔ Check if this is community property (see
                                                                 ❑                                                                                  $55,000.00                  $55,000.00
                                                                      instructions)
               Other information:




 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ❑ No
       ✔ Yes
       ❑

       4.1                                     Malibu            Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
               Make:
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
               Model:                          28LSV             ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
               Year:                           2023              ❑ At least one of the debtors and another                            entire property?                portion you own?
               Other information:                                ❑ Check if this is community property (see                                       $175,000.00                 $175,000.00
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here ...................................................................................................
                                                                                                                                                                              $509,000.00



  Part 3:          Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                                                    Current value of the
                                                                                                                                                                      portion you own?
                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                      claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                         $50,000.00
                                            Furniture, Kitchenware, Linens




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 3
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Debtor Charles Littleton Fridge III                                                                  Case number (if known) 24-35056



 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ✔ No
       ❑
       ❑ Yes. Describe. .........
 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                               $20,000.00
                                        Artwork


 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                Golf Clubs                                                                                      $5,000.00
                                        Saddles

 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                               $10,000.00
                                        Shotguns


 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                               $10,000.00


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                 $500.00
                                        2 Watches


 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ✔ No
       ❑
       ❑ Yes. Describe. .........
 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Give specific
           information. .............




Official Form 106A/B                                                Schedule A/B: Property                                                 page 4
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Debtor Charles Littleton Fridge III                                                                                                               Case number (if known) 24-35056




                                                                                                                                                                                       ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here .................................................................................................................................
                                                                                                                                                                                                           $95,500.00



  Part 4:             Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                      Current value of the
                                                                                                                                                                                                  portion you own?
                                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                                  claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ❑ No
       ✔ Yes ...................................................................................................................................................
       ❑                                                                                                                                                              Cash: ...................               $2,200.00


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                                                      Institution name:

                                             17.1. Checking account:                           Cadence Bank                                                                                                  ($5,712.00)

                                             17.2. Checking account:                           Frost Bank                                                                                                     $1,180.00

                                             17.3. Checking account:                           Plains Capital Bank                                                                                              $103.00


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔ No
       ❑
       ❑ Yes .....................

 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ❑ No
       ✔ Yes. Give specific
       ❑
            information about
            them....................        Name of entity:                                                                                                        % of ownership:

                                              3000 Smith GP, Inc.                                                                                                                100.00%                           $0.00

                                              3000 Smith, Ltd.                                                                                                                     99.00%                     unknown

                                              CCS Land Development, LLC                                                                                                          100.00%                           $0.00

                                              Charles L. Fridge III, P.C.                                                                                                        100.00%                           $0.00

                                              CLF Property LLC                                                                                                                   100.00%                      unknown

                                              Fridge, Resendez & Wise LLC                                                                                                        100.00%                           $0.00

                                              Verde CO2 CCS II, LLC                                                                                                              100.00%                      unknown

                                              Verde CO2 CCS, LLC                                                                                                                 100.00%                      unknown




Official Form 106A/B                                                                              Schedule A/B: Property                                                                                          page 5
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Debtor Charles Littleton Fridge III                                                                 Case number (if known) 24-35056



 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about
           them....................


 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ✔ No
       ❑
       ❑ Yes. List each
           account separately.


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ✔ No
       ❑
       ❑ Yes ......................

 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................

 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................

 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...




Official Form 106A/B                                                Schedule A/B: Property                                            page 6
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Debtor Charles Littleton Fridge III                                                                      Case number (if known) 24-35056



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ❑ No
       ✔ Yes. Give specific
       ❑                                                                                                                                                  unknown
           information about them. ...
                                             Law License


 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes. Give specific information about
                them, including whether you
                already filed the returns and
                the tax years. ...................


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........

 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ❑ No
       ✔ Yes. Name the insurance company
       ❑
                of each policy and list its value. ...    Company name:                            Beneficiary:                           Surrender or refund value:

                                                           Blue Cross Health                        Self and family                                       unknown

                                                           Dental Select                            Self and family                                       unknown

                                                           MetLife Term Life                        Danielle Fridge                                       unknown


 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ❑ No
       ✔ Yes. Describe each claim. ..............
       ❑                                                                                                                                             $2,000,000.00
                                                         Return of settlement funds from Danielle Fridge



Official Form 106A/B                                                   Schedule A/B: Property                                                                 page 7
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Debtor Charles Littleton Fridge III                                                                                                    Case number (if known) 24-35056



 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............
 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here .................................................................................................................................
                                                                                                                                                                                        $1,997,771.00



  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ❑ No. Go to Part 6.
       ✔ Yes. Go to line 38.
       ❑
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe. .........
 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                                     $20,000.00
                                               Office equipment, furniture etc


 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe. .........
 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe. .........
 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe .......

 43.   Customer lists, mailing lists, or other compilations

       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                  page 8
                           Case 24-35056 Document 19 Filed in TXSB on 12/06/24 Page 12 of 50
Debtor Charles Littleton Fridge III                                                                                                        Case number (if known) 24-35056



 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information .........




                                                                                                                                                                                ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here .................................................................................................................................
                                                                                                                                                                                              $20,000.00



  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.


                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here .................................................................................................................................
                                                                                                                                                                                                   $0.00



  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............



 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔                  $0.00



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔       $1,800,000.00


 56.   Part 2: Total vehicles, line 5                                                                            $509,000.00

 57.   Part 3: Total personal and household items, line 15                                                         $95,500.00

 58.   Part 4: Total financial assets, line 36                                                                $1,997,771.00

 59.   Part 5: Total business-related property, line 45                                                            $20,000.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                            $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                        $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                      $2,622,271.00                Copy personal property total             ➔   +   $2,622,271.00



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................                               $4,422,271.00




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                 page 9
                        Case 24-35056 Document 19 Filed in TXSB on 12/06/24 Page 13 of 50
 Fill in this information to identify your case:

  Debtor 1            Charles                 Littleton              Fridge, III
                      First Name             Middle Name             Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name             Last Name

  United States Bankruptcy Court for the:                 Southern            District of        Texas

  Case number         24-35056
  (if known)                                                                                                                            ✔ Check if this is an
                                                                                                                                        ❑
                                                                                                                                            amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                             04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out
and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific
dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable
statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited
in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount
and the value of the property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

      Part 1:     Identify the Property You Claim as Exempt


 1.    Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       ❑
       ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.    For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

       Brief description of the property and        Current value of the         Amount of the exemption you claim           Specific laws that allow exemption
       line on Schedule A/B that lists this         portion you own
       property                                                                  Check only one box for each exemption.
                                                    Copy the value from
                                                    Schedule A/B

       Brief             2127 Milford                     $1,800,000.00
                                                                                 ✔
       description:      Houston, TX 77006                                       ❑     $1,026,661.00                         Const. art. 16 §§ 50, 51, Texas
       Line from                                                                 ❑ 100% of fair market value, up to          Prop. Code §§ 41.001-.002
       Schedule A/B:        1.1                                                      any applicable statutory limit

       Brief             2019 Chevrolet                      $20,000.00
       description:      Suburban                                                ✔
                                                                                 ❑          $20,000.00                       Tex. Prop. Code §§ 42.001(a),
       Line from                                                                 ❑ 100% of fair market value, up to          42.002(a)(9)
       Schedule A/B:        3.1                                                      any applicable statutory limit

 3.    Are you claiming a homestead exemption of more than $189,050?
       (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

       ❑ No
       ✔ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
       ❑
         ✔ No
         ❑
         ❑ Yes



Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                             page 1 of 3
                       Case 24-35056 Document 19 Filed in TXSB on 12/06/24 Page 14 of 50
Debtor 1            Charles            Littleton            Fridge, III                      Case number (if known) 24-35056
                First Name             Middle Name         Last Name



   Part 2:      Additional Page

     Brief description of the property and     Current value of the       Amount of the exemption you claim         Specific laws that allow exemption
     line on Schedule A/B that lists this      portion you own
     property                                                             Check only one box for each exemption.
                                               Copy the value from
                                               Schedule A/B

     Brief              2014 Chevrolet                  $4,000.00
                                                                          ✔
     description:       Silverado                                         ❑        $4,000.00                        Tex. Prop. Code §§ 42.001(a),
     Line from                                                            ❑ 100% of fair market value, up to        42.002(a)(9)
     Schedule A/B:        3.2                                                 any applicable statutory limit

     Brief              2018 Honda Civic               $20,000.00
     description:                                                         ✔
                                                                          ❑       $20,000.00                        Tex. Prop. Code §§ 42.001(a),
     Line from                                                            ❑ 100% of fair market value, up to        42.002(a)(9)
     Schedule A/B:        3.3                                                 any applicable statutory limit

     Brief              2022 Ford F150                 $65,000.00
     description:                                                         ✔
                                                                          ❑       $65,000.00                        Tex. Prop. Code §§ 42.001(a),
     Line from                                                            ❑ 100% of fair market value, up to        42.002(a)(9)
     Schedule A/B:        3.4                                                 any applicable statutory limit

     Brief              2023 Ford F350                 $55,000.00
     description:                                                         ✔
                                                                          ❑       $55,000.00                        Tex. Prop. Code §§ 42.001(a),
     Line from                                                            ❑ 100% of fair market value, up to        42.002(a)(9)
     Schedule A/B:        3.5                                                 any applicable statutory limit

     Brief              2020 Aston Martin            $170,000.00
                                                                          ✔
     description:       DBS                                               ❑      $170,000.00                        Tex. Prop. Code §§ 42.001(a),
     Line from                                                            ❑ 100% of fair market value, up to        42.002(a)(9)
     Schedule A/B:        3.6                                                 any applicable statutory limit

     Brief              2023 Malibu 28LSV            $175,000.00
     description:                                                         ✔
                                                                          ❑      $175,000.00                        Tex. Prop. Code §§ 42.001(a),
     Line from                                                            ❑ 100% of fair market value, up to        42.002(a)(9)
     Schedule A/B:        4.1                                                 any applicable statutory limit

     Brief              Furniture,                     $50,000.00
     description:       Kitchenware,
                        Linens                                            ✔
                                                                          ❑       $50,000.00                        Tex. Prop. Code §§ 42.001(a),
     Line from                                                            ❑ 100% of fair market value, up to        42.002(a)(1)
     Schedule A/B:            6                                               any applicable statutory limit

     Brief              Artwork                        $20,000.00
     description:                                                         ✔
                                                                          ❑       $20,000.00                        Tex. Prop. Code §§ 42.001(a),
     Line from                                                            ❑ 100% of fair market value, up to        42.002(a)(1)
     Schedule A/B:            8                                               any applicable statutory limit

     Brief              Golf Clubs Saddles              $5,000.00
     description:                                                         ✔
                                                                          ❑        $5,000.00                        Tex. Prop. Code §§ 42.001(a),
     Line from                                                            ❑ 100% of fair market value, up to        42.002(a)(8)
     Schedule A/B:            9                                               any applicable statutory limit


Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                        page 2 of 3
                       Case 24-35056 Document 19 Filed in TXSB on 12/06/24 Page 15 of 50
Debtor 1            Charles          Littleton            Fridge, III                      Case number (if known) 24-35056
                First Name           Middle Name         Last Name



   Part 2:      Additional Page

     Brief description of the property and   Current value of the       Amount of the exemption you claim         Specific laws that allow exemption
     line on Schedule A/B that lists this    portion you own
     property                                                           Check only one box for each exemption.
                                             Copy the value from
                                             Schedule A/B

     Brief              Shotguns                     $10,000.00
     description:                                                       ✔
                                                                        ❑       $10,000.00                        Tex. Prop. Code §§ 42.001(a),
     Line from                                                          ❑ 100% of fair market value, up to        42.002(a)(7)
     Schedule A/B:        10                                                any applicable statutory limit

     Brief              Clothes                      $10,000.00
     description:                                                       ✔
                                                                        ❑       $10,000.00                        Tex. Prop. Code §§ 42.001(a),
     Line from                                                          ❑ 100% of fair market value, up to        42.002(a)(5)
     Schedule A/B:        11                                                any applicable statutory limit

     Brief              2 Watches                       $500.00
     description:                                                       ✔
                                                                        ❑         $500.00                         Tex. Prop. Code §§ 42.001(a),
     Line from                                                          ❑ 100% of fair market value, up to        42.002(a)(6)
     Schedule A/B:        12                                                any applicable statutory limit

     Brief              Office equipment,            $20,000.00
     description:       furniture etc                                   ✔
                                                                        ❑       $20,000.00                        Tex. Prop. Code §§ 42.001(a),
     Line from                                                          ❑ 100% of fair market value, up to        42.002(a)(4)
     Schedule A/B:        39                                                any applicable statutory limit




Official Form 106C                                 Schedule C: The Property You Claim as Exempt                                        page 3 of 3
                          Case 24-35056 Document 19 Filed in TXSB on 12/06/24 Page 16 of 50
 Fill in this information to identify your case:

     Debtor 1           Charles                Littleton              Fridge, III
                        First Name             Middle Name            Last Name

     Debtor 2
     (Spouse, if filing) First Name            Middle Name            Last Name

     United States Bankruptcy Court for the:               Southern             District of        Texas

     Case number (if 24-35056
     known)                                                                                                                                    ✔ Check if this is an
                                                                                                                                               ❑
                                                                                                                                                    amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
1.     Do any creditors have claims secured by your property?
       ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List All Secured Claims

 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor              Column A               Column B              Column C
         separately for each claim. If more than one creditor has a particular claim, list the other            Amount of claim        Value of collateral   Unsecured
         creditors in Part 2. As much as possible, list the claims in alphabetical order according to the       Do not deduct the
                                                                                                                                       that supports this    portion
         creditor’s name.                                                                                       value of collateral.
                                                                                                                                       claim                 If any

     2.1 BMO BANK NA                                  Describe the property that secures the claim:                 $195,472.00             $175,000.00       $20,472.00
         Creditor’s Name
                                                       2023 Malibu 28LSV
          PO Box BOX 6201
         Number         Street
                                                      As of the date you file, the claim is: Check all that apply.
                                                      ❑ Contingent
          Carol Stream, IL 60199                      ❑ Unliquidated
         City               State       ZIP Code      ❑ Disputed
         Who owes the debt? Check one.                Nature of lien. Check all that apply.
         ✔ Debtor 1 only
         ❑                                            ✔ An agreement you made (such as mortgage or secured car loan)
                                                      ❑
         ❑ Debtor 2 only                              ❑ Statutory lien (such as tax lien, mechanic’s lien)
         ❑ Debtor 1 and Debtor 2 only                 ❑ Judgment lien from a lawsuit
         ❑ At least one of the debtors and            ❑ Other (including a right to
              another                                      offset)
         ❑ Check if this claim relates to a
              community debt
         Date debt was incurred          2023         Last 4 digits of account number          3    3       8   8

         Add the dollar value of your entries in Column A on this page. Write that number here:                      $195,472.00




Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 3
                      Case 24-35056 Document 19 Filed in TXSB on 12/06/24 Page 17 of 50
Debtor 1        Charles               Littleton                Fridge, III                      Case number (if known) 24-35056
                First Name            Middle Name              Last Name


                                                                                                        Column A               Column B                Column C
                Additional Page                                                                         Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                     that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                 Do not deduct the
                followed by 2.4, and so forth.                                                          value of collateral.
                                                                                                                               claim                   If any

  2.2 FIRST SERVICE CU                            Describe the property that secures the claim:              $170,000.00             $170,000.00                $0.00
      Creditor’s Name
                                                  2020 Aston Martin DBS
       PO Box BOX 941914
      Number         Street
                                                  As of the date you file, the claim is: Check all that apply.
                                                  ❑ Contingent
       Houston, TX 77094                          ❑ Unliquidated
      City              State      ZIP Code       ❑ Disputed
      Who owes the debt? Check one.               Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                           ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                             ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only                ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and           ❑ Other (including a right to
           another                                   offset)
      ❑ Check if this claim relates to a
        community debt
      Date debt was incurred                      Last 4 digits of account number

  2.3 HUNTINGTON BANK                             Describe the property that secures the claim:                  $49,996.99           $65,000.00                $0.00
      Creditor’s Name
                                                  2022 Ford F150
       P.O. Box 182519
      Number         Street
                                                  As of the date you file, the claim is: Check all that apply.
                                                  ❑ Contingent
       Columbus, OH 43218                         ❑ Unliquidated
      City              State      ZIP Code       ❑ Disputed
      Who owes the debt? Check one.               Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                           ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                             ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only                ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and           ❑ Other (including a right to
           another                                   offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred                      Last 4 digits of account number

      Add the dollar value of your entries in Column A on this page. Write that number here:                 $219,996.99
      If this is the last page of your form, add the dollar value totals from all pages.
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 3
                      Case 24-35056 Document 19 Filed in TXSB on 12/06/24 Page 18 of 50
Debtor 1        Charles               Littleton                Fridge, III                      Case number (if known) 24-35056
                First Name            Middle Name              Last Name


                                                                                                        Column A               Column B                Column C
                Additional Page                                                                         Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                     that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                 Do not deduct the
                followed by 2.4, and so forth.                                                          value of collateral.
                                                                                                                               claim                   If any

  2.4 PLAINS CAPITAL BANK                         Describe the property that secures the claim:              $773,339.00           $1,800,000.00                $0.00
      Creditor’s Name
                                                  2127 Milford Houston, TX 77006
       PO Box 93600
      Number         Street
                                                  As of the date you file, the claim is: Check all that apply.
                                                  ❑ Contingent
       Lubbock, TX 79493                          ✔ Unliquidated
                                                  ❑
      City              State      ZIP Code       ❑ Disputed
      Who owes the debt? Check one.               Nature of lien. Check all that apply.
      ❑ Debtor 1 only                             ✔ An agreement you made (such as mortgage or secured car loan)
                                                  ❑
      ❑ Debtor 2 only                             ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only                ❑ Judgment lien from a lawsuit
      ✔ At least one of the debtors and
      ❑                                           ❑ Other (including a right to
           another                                   offset)
      ✔ Check if this claim relates to a
      ❑
           community debt
      Date debt was incurred                      Last 4 digits of account number

  2.5 WELLS FARGO BANK                            Describe the property that secures the claim:                  $52,073.20           $65,000.00                $0.00
      Creditor’s Name
                                                  2022 Ford F150
       PO Box 51963
      Number         Street
                                                  As of the date you file, the claim is: Check all that apply.
                                                  ❑ Contingent
       Los Angeles, CA 90051-6263                 ❑ Unliquidated
      City              State      ZIP Code       ❑ Disputed
      Who owes the debt? Check one.               Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                           ✔ An agreement you made (such as mortgage or secured car loan)
                                                  ❑
      ❑ Debtor 2 only                             ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only                ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and           ❑ Other (including a right to
           another                                   offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred                      Last 4 digits of account number

      Add the dollar value of your entries in Column A on this page. Write that number here:                 $825,412.20
      If this is the last page of your form, add the dollar value totals from all pages.
                                                                                                          $1,240,881.19
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 3 of 3
                        Case 24-35056 Document 19 Filed in TXSB on 12/06/24 Page 19 of 50
 Fill in this information to identify your case:

  Debtor 1            Charles                 Littleton               Fridge, III
                     First Name              Middle Name              Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the:                 Southern              District of       Texas

  Case number        24-35056
  (if known)                                                                                                                                  ✔ Check if this is an
                                                                                                                                              ❑
                                                                                                                                                   amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out,
number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case
number (if known).

      Part 1:      List All of Your PRIORITY Unsecured Claims

 1.     Do any creditors have priority unsecured claims against you?
        ✔ No. Go to Part 2.
        ❑
        ❑ Yes.
      Part 2:      List All of Your NONPRIORITY Unsecured Claims

 3.     Do any creditors have nonpriority unsecured claims against you?
        ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        ✔ Yes
        ❑
 4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
  4.1 AMERICAN EDUCATION SERVICES                                        Last 4 digits of account number          3    8    4     1                           $44,981.00
        Nonpriority Creditor’s Name
                                                                         When was the debt incurred?
         PO Box 2461
        Number              Street
                                                                         As of the date you file, the claim is: Check all that apply.
                                                                         ❑ Contingent
         Harrisburg, PA 17105
                                                                         ❑ Unliquidated
                                                                         ❑ Disputed
        City                       State                   ZIP Code

        Who incurred the debt? Check one.
        ✔ Debtor 1 only
        ❑
                                                                         Type of NONPRIORITY unsecured claim:
                                                                         ✔ Student loans
                                                                         ❑
        ❑ Debtor 2 only
        ❑ Debtor 1 and Debtor 2 only                                     ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                             priority claims
        ❑ At least one of the debtors and another                        ❑ Debts to pension or profit-sharing plans, and other similar debts
        ❑ Check if this claim is for a community debt                    ❑ Other. Specify
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 4
                       Case 24-35056 Document 19 Filed in TXSB on 12/06/24 Page 20 of 50
Debtor 1        Charles               Littleton                Fridge, III                     Case number (if known) 24-35056
               First Name             Middle Name          Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
4.2 AMERICAN EXPRESS                                              Last 4 digits of account number         6    0   0    9                         $403,464.00
    Nonpriority Creditor’s Name
                                                                  When was the debt incurred?
     PO Box BOX 6031
    Number              Street
                                                                  As of the date you file, the claim is: Check all that apply.
                                                                  ❑ Contingent
     Carol Stream, IL 60197
                                                                  ❑ Unliquidated
                                                                  ❑ Disputed
    City                    State                   ZIP Code

    Who incurred the debt? Check one.
    ✔ Debtor 1 only
    ❑
                                                                  Type of NONPRIORITY unsecured claim:

    ❑ Debtor 2 only                                               ❑ Student loans
    ❑ Debtor 1 and Debtor 2 only                                  ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
    ❑ At least one of the debtors and another                     ❑ Debts to pension or profit-sharing plans, and other similar debts
    ❑ Check if this claim is for a community debt                 ✔ Other. Specify
                                                                  ❑
    Is the claim subject to offset?
    ✔ No
    ❑
    ❑ Yes
4.3 BANK OF AMERICA                                               Last 4 digits of account number         1    4   4    5                          $23,012.00
    Nonpriority Creditor’s Name
                                                                  When was the debt incurred?
     PO Box 660710
    Number              Street
                                                                  As of the date you file, the claim is: Check all that apply.
                                                                  ❑ Contingent
     Dallas, TX 75266
                                                                  ❑ Unliquidated
                                                                  ❑ Disputed
    City                    State                   ZIP Code

    Who incurred the debt? Check one.
    ✔ Debtor 1 only
    ❑
                                                                  Type of NONPRIORITY unsecured claim:

    ❑ Debtor 2 only                                               ❑ Student loans
    ❑ Debtor 1 and Debtor 2 only                                  ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
    ❑ At least one of the debtors and another                     ❑ Debts to pension or profit-sharing plans, and other similar debts
    ❑ Check if this claim is for a community debt                 ✔ Other. Specify
                                                                  ❑
    Is the claim subject to offset?
    ✔ No
    ❑
    ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                             page 2 of 4
                       Case 24-35056 Document 19 Filed in TXSB on 12/06/24 Page 21 of 50
Debtor 1        Charles               Littleton                Fridge, III                     Case number (if known) 24-35056
               First Name             Middle Name          Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
4.4 FROST BANK                                                    Last 4 digits of account number         9    0   0    2                         $172,139.99
    Nonpriority Creditor’s Name
                                                                  When was the debt incurred?                 10/2023
     PO Box 34746
    Number              Street
                                                                  As of the date you file, the claim is: Check all that apply.

     San Antonio, TX 78265
                                                                  ❑ Contingent
    City                    State                   ZIP Code
                                                                  ❑ Unliquidated
                                                                  ❑ Disputed
    Who incurred the debt? Check one.
    ✔ Debtor 1 only
    ❑
                                                                  Type of NONPRIORITY unsecured claim:

    ❑ Debtor 2 only                                               ❑ Student loans
    ❑ Debtor 1 and Debtor 2 only                                  ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
    ❑ At least one of the debtors and another                     ❑ Debts to pension or profit-sharing plans, and other similar debts
    ❑ Check if this claim is for a community debt                 ✔ Other. Specify Term Loan
                                                                  ❑
    Is the claim subject to offset?
    ✔ No
    ❑
    ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                             page 3 of 4
                         Case 24-35056 Document 19 Filed in TXSB on 12/06/24 Page 22 of 50
Debtor 1          Charles                 Littleton              Fridge, III                 Case number (if known) 24-35056
                  First Name             Middle Name            Last Name


      Part 4:     Add the Amounts for Each Type of Unsecured Claim

 6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.



                                                                                                Total claim

 Total claims      6a.    Domestic support obligations                                6a.                           $0.00
 from Part 1
                   6b.    Taxes and certain other debts you owe the government        6b.                           $0.00

                   6c.    Claims for death or personal injury while you were          6c.                           $0.00
                          intoxicated

                   6d.    Other. Add all other priority unsecured claims.             6d.   +                       $0.00
                          Write that amount here.

                   6e.    Total. Add lines 6a through 6d.                             6e.
                                                                                                                   $0.00



                                                                                                Total claim

 Total claims      6f.    Student loans                                               6f.                      $44,981.00
 from Part 2
                   6g.    Obligations arising out of a separation agreement or        6g.                           $0.00
                          divorce that you did not report as priority claims

                   6h.    Debts to pension or profit-sharing plans, and other         6h.                           $0.00
                          similar debts

                   6i.    Other. Add all other nonpriority unsecured claims.          6i.   +                 $598,615.99
                          Write that amount here.

                   6j.    Total. Add lines 6f through 6i.                             6j.
                                                                                                           $643,596.99




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                     page 4 of 4
                                    Case 24-35056 Document 19 Filed in TXSB on 12/06/24 Page 23 of 50

 Fill in this information to identify your case:

     Debtor 1                       Charles              Littleton           Fridge, III
                                    First Name           Middle Name        Last Name

     Debtor 2
     (Spouse, if filing)            First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                           Southern District of Texas

     Case number                            24-35056                                                                                     ✔ Check if this is an
                                                                                                                                         ❑
     (if known)                                                                                                                              amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ❑ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
        ❑
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                              State what the contract or lease is for

2.1                                                                                             Charles Fridge Temporary Residence
         Mt Jefferson Holdings LLC
        Name
         1300 Lamar st
        Number             Street
         Houston, TX 77010
        City                                     State   ZIP Code

2.2

        Name

        Number             Street

        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                          page 1 of 1
                          Case 24-35056 Document 19 Filed in TXSB on 12/06/24 Page 24 of 50
 Fill in this information to identify your case:

  Debtor 1             Charles                Littleton               Fridge, III
                      First Name             Middle Name              Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the:                  Southern            District of       Texas

  Case number         24-35056
  (if known)                                                                                                                               ✔ Check if this is an
                                                                                                                                           ❑
                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ❑ No
        ✔ Yes
        ❑
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ❑ No. Go to line 3.
        ✔ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑
               ❑ No
               ✔ Yes. In which community state or territory did you live?
               ❑                                                                        Texas             . Fill in the name and current address of that person.

                   Danielle Fridge
                   Name of your spouse, former spouse, or legal equivalent
                   2145 Fairview Ave
                   Number                 Street
                   Houston, TX 77019-6617
                   City                            State                          ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line
        2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                          Column 2: The creditor to whom you owe the debt

                                                                                                         Check all schedules that apply:
 3.1    Fridge, Danielle
        Name                                                                                             ✔ Schedule D, line
                                                                                                         ❑                          2.4

        2145 Fairview Ave                                                                                ❑ Schedule E/F, line
        Number                          Street
                                                                                                         ❑ Schedule G, line
        Houston, TX 77019-6617
        City                                       State                                     ZIP Code

 3.2
        Name                                                                                             ❑ Schedule D, line
                                                                                                         ❑ Schedule E/F, line
        Number                          Street
                                                                                                         ❑ Schedule G, line
        City                                       State                                     ZIP Code




Official Form 106H                                                      Schedule H: Codebtors                                                           page 1 of 1
                           Case 24-35056 Document 19 Filed in TXSB on 12/06/24 Page 25 of 50

 Fill in this information to identify your case:

  Debtor 1                  Charles                Littleton           Fridge, III
                           First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name        Last Name                                             Check if this is:
                                                                                                                            ✔ An amended filing
                                                                                                                            ❑
                                                                 Southern District of Texas
                                                                                                                            ❑ A supplement showing postpetition
  United States Bankruptcy Court for the:

  Case number                       24-35056                                                                                   chapter 13 income as of the following date:
  (if known)

                                                                                                                               MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                               Debtor 1                                          Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status             ✔ Employed ❑ Not Employed
                                                                           ❑                                                            ✔ Not Employed
                                                                                                                             ❑ Employed ❑
     attach a separate page with
     information about additional            Occupation                    Entrepreneur & Attorney
     employers.
                                             Employer's name               Various entities and law firm
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address            3000 Smith Street
     Occupation may include student                                         Number Street                                     Number Street
     or homemaker, if it applies.




                                                                           Houston, TX 77006
                                                                            City                     State   Zip Code         City                State     Zip Code
                                             How long employed there? 2005


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                         For Debtor 1   For Debtor 2 or
                                                                                                                        non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.             2.                $0.00                     $0.00

 3. Estimate and list monthly overtime pay.                                                 3.   +            $0.00     +               $0.00


 4. Calculate gross income. Add line 2 + line 3.                                            4.                $0.00                     $0.00




Official Form 106I                                                          Schedule I: Your Income                                                              page 1
                                 Case 24-35056 Document 19 Filed in TXSB on 12/06/24 Page 26 of 50

 Debtor 1                 Charles                      Littleton                       Fridge, III                                   Case number (if known) 24-35056
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.               $0.00                    $0.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.              $0.00                    $0.00
       5b. Mandatory contributions for retirement plans                                                        5b.              $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.              $0.00                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.              $0.00                    $0.00
       5e. Insurance                                                                                           5e.              $0.00                    $0.00
       5f. Domestic support obligations                                                                        5f.              $0.00                    $0.00
       5g. Union dues                                                                                          5g.              $0.00                    $0.00
       5h. Other deductions. Specify:                                                                          5h.   +          $0.00         +          $0.00
 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.               $0.00                    $0.00
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.               $0.00                    $0.00
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.              $0.00                    $0.00
       8b. Interest and dividends                                                                              8b.              $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.              $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.              $0.00                    $0.00
       8e. Social Security                                                                                     8e.              $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.

            Specify:                                                                                           8f.              $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.              $0.00                    $0.00
       8h. Other monthly income. Specify:                                                                      8h.   +          $0.00         +          $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.               $0.00                     $0.00
 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.              $0.00     +               $0.00         =             $0.00

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify: Contributions From Family                                                                                                                         11. +        $50,000.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.           $50,000.00
                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑                         Practicing law and attempting to increase value of Verde
       ❑ Yes. Explain:

Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
                           Case 24-35056 Document 19 Filed in TXSB on 12/06/24 Page 27 of 50

 Fill in this information to identify your case:

  Debtor 1                  Charles                 Littleton            Fridge, III
                                                                                                                 Check if this is:
                           First Name               Middle Name         Last Name
                                                                                                                 ✔ An amended filing
                                                                                                                 ❑
  Debtor 2
  (Spouse, if filing)      First Name               Middle Name         Last Name
                                                                                                                 ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                         Southern District of Texas
                                                                                                                      MM / DD / YYYY
  Case number                       24-35056
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?
     ✔ No. Go to line 2.
     ❑
     ❑ Yes. Does Debtor 2 live in a separate household?
             ❑ No
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ❑ No
     Do not list Debtor 1 and                  ✔ Yes. Fill out this information
                                               ❑                                        Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.
                                                                                        Child                               18                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Child                               20                 ✔ No. ❑ Yes.
                                                                                                                                               ❑
                                                                                        Child                               21                 ✔ No. ❑ Yes.
                                                                                                                                               ❑
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                    4.                 $12,120.00

     If not included in line 4:
     4a. Real estate taxes                                                                                                    4a.                       $0.00
     4b. Property, homeowner's, or renter's insurance                                                                         4b.                       $0.00
     4c. Home maintenance, repair, and upkeep expenses                                                                        4c.                       $0.00
     4d. Homeowner's association or condominium dues                                                                          4d.                       $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
                          Case 24-35056 Document 19 Filed in TXSB on 12/06/24 Page 28 of 50

 Debtor 1            Charles                Littleton            Fridge, III                                 Case number (if known) 24-35056
                     First Name             Middle Name          Last Name


                                                                                                                            Your expenses


 5.    Additional mortgage payments for your residence, such as home equity loans                                 5.                        $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                         6a.                       $0.00
       6b. Water, sewer, garbage collection                                                                       6b.                       $0.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                         6c.                       $0.00

       6d. Other. Specify:                                                                                        6d.                       $0.00
 7.    Food and housekeeping supplies                                                                             7.                 $4,000.00

 8.    Childcare and children’s education costs                                                                   8.                 $6,475.00

 9.    Clothing, laundry, and dry cleaning                                                                        9.                   $500.00

 10. Personal care products and services                                                                          10.                  $400.00

 11.   Medical and dental expenses                                                                                11.                       $0.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                 12.                $2,100.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                           13.                       $0.00

 14. Charitable contributions and religious donations                                                             14.                       $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a. Life insurance                                                                                        15a.                 $203.00
       15b. Health insurance                                                                                      15b.               $3,209.00
       15c. Vehicle insurance                                                                                     15c.               $2,877.00

       15d. Other insurance. Specify:                                                                             15d.                      $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                   16.                       $0.00

 17. Installment or lease payments:
       17a. Car payments for Vehicle 1 2022 Ford F150                                                             17a.                 $886.00
       17b. Car payments for Vehicle 2 2020 Aston Martin DBS                                                      17b.               $2,619.00
       17c. Other. Specify: Ford F-350                                                                            17c.               $1,017.00
       17d. Other. Specify: Malibu Boat                                                                           17d.               $1,891.00
 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                       18.                       $0.00

 19. Other payments you make to support others who do not live with you.
       Specify: College Rent and Expenses                                                                         19.                $2,450.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
       20a. Mortgages on other property                                                                           20a.               $9,166.00
       20b. Real estate taxes                                                                                     20b.               $1,850.00
       20c. Property, homeowner’s, or renter’s insurance                                                          20c.                      $0.00
       20d. Maintenance, repair, and upkeep expenses                                                              20d.                      $0.00
       20e. Homeowner’s association or condominium dues                                                           20e.                      $0.00



Official Form 106J                                                          Schedule J: Your Expenses                                               page 2
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 Debtor 1             Charles             Littleton            Fridge, III                                  Case number (if known) 24-35056
                      First Name          Middle Name          Last Name



 21. Other. Specify:                                                                                             21.    +                $0.00


 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                               22a.               $51,763.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                       22b.                     $0.00
      22c. Add line 22a and 22b. The result is your monthly expenses.                                            22c.               $51,763.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                          23a.               $50,000.00

      23b. Copy your monthly expenses from line 22c above.                                                       23b.       –        $51,763.00
      23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                               23c.               ($1,763.00)



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ❑ No.          Youngest son attending college in 2025
      ✔ Yes.
      ❑




Official Form 106J                                                       Schedule J: Your Expenses                                                page 3
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 Fill in this information to identify your case:

  Debtor 1                      Charles                     Littleton                Fridge, III
                               First Name                  Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                   Southern District of Texas

  Case number                              24-35056                                                                                                                      ✔ Check if this is an
                                                                                                                                                                         ❑
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                  $1,800,000.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                       $2,622,271.00

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                 $4,422,271.00



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                          $1,240,881.19

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                          $0.00

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +          $643,596.99

                                                                                                                                                  Your total liabilities               $1,884,478.18

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                  $50,000.00


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                $51,763.00




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
                         Case 24-35056 Document 19 Filed in TXSB on 12/06/24 Page 31 of 50

Debtor 1            Charles               Littleton              Fridge, III                                       Case number (if known) 24-35056
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ✔ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
   ❑
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                              $0.00




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                              $0.00


    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                     $0.00


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                           $0.00


    9d. Student loans. (Copy line 6f.)                                                                                        $44,981.00


    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                           $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +                     $0.00


    9g. Total. Add lines 9a through 9f.                                                                                    $44,981.00




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                         page 2 of 2
                            Case 24-35056 Document 19 Filed in TXSB on 12/06/24 Page 32 of 50

 Fill in this information to identify your case:

  Debtor 1                  Charles                Littleton           Fridge, III
                            First Name             Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name        Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                       24-35056                                                                                        ✔ Check if this is an
                                                                                                                                    ❑
  (if known)                                                                                                                             amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                              . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                        Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Charles Littleton Fridge, III
        Charles Littleton Fridge, III, Debtor 1


        Date 12/06/2024
                 MM/ DD/ YYYY




Official Form 106Dec                                           Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

  Debtor 1                  Charles                Littleton           Fridge, III
                           First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                       24-35056                                                                                         ✔ Check if this is an
                                                                                                                                     ❑
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ❑ No
    ✔ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
    ❑
      Debtor 1:                                                Dates Debtor 1 lived    Debtor 2:                                           Dates Debtor 2 lived
                                                               there                                                                       there


                                                                                      ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
     1039 Kirby Dr                                         From Aug 2023                                                                  From
    Number       Street                                                                 Number     Street
                                                           To      Sept 2024                                                              To

     Houston, TX 77019-1403
    City                            State ZIP Code                                      City                        State ZIP Code



                                                                                      ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
     6017 Memorial Dr Unit 705                             From Aug 2021                                                                  From
    Number       Street                                                                 Number     Street
                                                           To      Aug 2023                                                               To

     Houston, TX 77007-7052
    City                            State ZIP Code                                      City                        State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ❑ No
    ✔ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).
    ❑

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 1
                           Case 24-35056 Document 19 Filed in TXSB on 12/06/24 Page 34 of 50

Debtor 1            Charles           Littleton                Fridge, III                                   Case number (if known) 24-35056
                    First Name        Middle Name              Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                  Debtor 1                                              Debtor 2

                                                  Sources of income          Gross Income               Sources of income           Gross Income
                                                  Check all that apply.      (before deductions and     Check all that apply.       (before deductions and
                                                                             exclusions)                                            exclusions)


    From January 1 of current year until the
                                               ❑ Wages, commissions,                                   ❑ Wages, commissions,
    date you filed for bankruptcy:                  bonuses, tips                                          bonuses, tips
                                               ✔ Operating a business
                                               ❑                                   $333,334.00         ❑ Operating a business

    For last calendar year:                    ❑ Wages, commissions,                                   ❑ Wages, commissions,
                                                    bonuses, tips                                          bonuses, tips
    (January 1 to December 31, 2023       )
                                   YYYY        ✔ Operating a business
                                               ❑                                   $500,000.00         ❑ Operating a business

    For the calendar year before that:         ❑ Wages, commissions,                                   ❑ Wages, commissions,
                                                    bonuses, tips                                          bonuses, tips
    (January 1 to December 31, 2022       )
                                   YYYY        ✔ Operating a business
                                               ❑                                   $187,500.00         ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                  Debtor 1                                              Debtor 2

                                                  Sources of income          Gross income from          Sources of income           Gross Income from
                                                  Describe below.            each source                Describe below.             each source
                                                                             (before deductions and                                 (before deductions and
                                                                             exclusions)                                            exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:


    For last calendar year:
    (January 1 to December 31, 2023       )
                                   YYYY



    For the calendar year before that:
    (January 1 to December 31, 2022       )
                                   YYYY




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2
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Debtor 1             Charles                      Littleton            Fridge, III                                     Case number (if known) 24-35056
                     First Name                   Middle Name          Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑ No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ❑ No. Go to line 7.
              ❑ Yes.        List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                            paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                            not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔ Yes.
    ❑         Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑ No. Go to line 7.
              ✔ Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
              ❑
                            include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                            an attorney for this bankruptcy case.

                                                                  Dates of             Total amount paid       Amount you still owe       Was this payment for…
                                                                  payment

             To be supplemented                                                                     $0.00                                ❑ Mortgage
             Creditor's Name
                                                                                                                                         ❑ Car
             Number       Street
                                                                                                                                         ❑ Credit card
                                                                                                                                         ❑ Loan repayment
             City                         State      ZIP Code
                                                                                                                                         ❑ Suppliers or vendors
                                                                                                                                         ✔ Other
                                                                                                                                         ❑


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.
                                                                Dates of             Total amount paid   Amount you still        Reason for this payment
                                                                payment                                  owe



    Insider's Name


    Number     Street




    City                          State      ZIP Code




Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3
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Debtor 1             Charles               Littleton              Fridge, III                                      Case number (if known) 24-35056
                     First Name            Middle Name            Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                          Dates of              Total amount paid   Amount you still           Reason for this payment
                                                          payment                                   owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                     Nature of the case                       Court or agency                                  Status of the case

                                                     Divorce
    Case title        Fridge, Danielle vs                                                    245th District Family Court                     ✔ Pending
                                                                                                                                             ❑
                      Fridge, Charles                                                        Court Name
                                                                                                                                             ❑ On appeal
                                                                                                                                             ❑ Concluded
    Case number 2021-06778                                                                   Harris County Civil Courthouse
                                                                                             201 Caroline 15th Floor
                                                                                             Number       Street
                                                                                             Houston, TX 77002
                                                                                             City                      State     ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.




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Debtor 1            Charles                Littleton               Fridge, III                                    Case number (if known) 24-35056
                    First Name             Middle Name             Last Name

                                                                    Describe the property                                Date             Value of the property



    Creditor’s Name



    Number     Street                                               Explain what happened

                                                                   ❑ Property was repossessed.
                                                                   ❑ Property was foreclosed.
                                                                   ❑ Property was garnished.
    City                           State    ZIP Code               ❑ Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                            Describe the action the creditor took                      Date action was   Amount
                                                                                                                       taken
    Creditor’s Name



    Number     Street



    City                          State    ZIP Code
                                                           Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ❑ No
    ✔ Yes. Fill in the details for each gift.
    ❑




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 5
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Debtor 1             Charles                Littleton            Fridge, III                                    Case number (if known) 24-35056
                     First Name             Middle Name          Last Name

     Gifts with a total value of more than $600           Describe the gifts                                        Dates you gave     Value
     per person                                                                                                     the gifts

    To be supplemented
    Person to Whom You Gave the Gift




    Number     Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities          Describe what you contributed                                Date you              Value
     that total more than $600                                                                                 contributed



    Charity’s Name




    Number     Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                           Date of your loss     Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
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Debtor 1            Charles             Littleton            Fridge, III                                    Case number (if known) 24-35056
                    First Name          Middle Name          Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                              Description and value of any property transferred            Date payment or        Amount of payment
    Fuqua & Associates, P.C.                                                                               transfer was made
    Person Who Was Paid                       Attorney's Fee
                                                                                                           12/6/2024                      $16,738.00
    8558 Katy Fwy Suite 119
    Number     Street




    Houston, TX 77024
    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of any property transferred            Date payment or        Amount of payment
                                                                                                           transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 7
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Debtor 1            Charles              Littleton            Fridge, III                                    Case number (if known) 24-35056
                    First Name           Middle Name          Last Name

                                               Description and value of property         Describe any property or payments               Date transfer was
                                               transferred                               received or debts paid in exchange              made

    Person Who Received Transfer



    Number      Street




    City                   State    ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Description and value of the property transferred                                         Date transfer was
                                                                                                                                         made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Last 4 digits of account number       Type of account or       Date account was           Last balance
                                                                                      instrument               closed, sold, moved, or    before closing or
                                                                                                               transferred                transfer

    Name of Financial Institution
                                                XXXX–                               ❑ Checking
                                                                                    ❑ Savings
    Number      Street
                                                                                    ❑ Money market
                                                                                    ❑ Brokerage
                                                                                    ❑ Other
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 8
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Debtor 1            Charles              Littleton            Fridge, III                                    Case number (if known) 24-35056
                    First Name           Middle Name          Last Name

                                                 Who else had access to it?                  Describe the contents                    Do you still have
                                                                                                                                      it?

                                                                                                                                     ❑ No
    Name of Financial Institution               Name
                                                                                                                                     ❑ Yes

    Number      Street                          Number    Street



                                                City                 State   ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Who else has or had access to it?           Describe the contents                    Do you still have
                                                                                                                                      it?

                                                                                                                                     ❑ No
    Name of Storage Facility                    Name
                                                                                                                                     ❑ Yes

    Number      Street                          Number    Street



                                                City                 State   ZIP Code

    City                   State    ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Where is the property?                      Describe the property                    Value



    Owner's Name
                                                Number    Street



    Number      Street

                                                City                 State   ZIP Code



    City                   State    ZIP Code




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 9
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Debtor 1            Charles             Littleton             Fridge, III                                      Case number (if known) 24-35056
                    First Name          Middle Name            Last Name
 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Governmental unit                        Environmental law, if you know it                   Date of notice



    Name of site                              Governmental unit



    Number     Street                         Number     Street



                                              City                State   ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Governmental unit                        Environmental law, if you know it                   Date of notice



    Name of site                              Governmental unit



    Number     Street                         Number     Street



                                              City                State   ZIP Code


    City                   State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 10
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Debtor 1            Charles               Littleton                 Fridge, III                                      Case number (if known) 24-35056
                    First Name            Middle Name               Last Name

                                                   Court or agency                          Nature of the case                                  Status of the case



    Case title                                                                                                                                  ❑ Pending
                                                                                                                                                ❑ On appeal
                                                  Court Name


                                                                                                                                                ❑ Concluded
                                                  Number       Street


    Case number
                                                  City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ✔ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑
           ✔ A partner in a partnership
           ❑
           ❑ An officer, director, or managing executive of a corporation
           ✔ An owner of at least 5% of the voting or equity securities of a corporation
           ❑
    ❑ No. None of the above applies. Go to Part 12.
    ✔ Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                    Describe the nature of the business                      Employer Identification number
    Charles L Fridge III P.C.                                                                                Do not include Social Security number or ITIN.
    Name
                                                                                                              EIN:   2     6 – 3   9    5   6   8   6   3


                                                    Name of accountant or bookkeeper                         Dates business existed
    3000 Smith St
    Number        Street
                                                                                                              From                 To
    Houston, TX 77006-3441
    City                    State   ZIP Code

                                                    Describe the nature of the business                      Employer Identification number
    Fridge, Resendez & Wise, LLC                                                                             Do not include Social Security number or ITIN.
    Name
                                                                                                              EIN:   2     6 – 3   9    5   6   8   6   3


                                                    Name of accountant or bookkeeper                         Dates business existed
    3000 Smith St
    Number        Street
                                                                                                              From                 To
    Houston, TX 77006-3441
    City                    State   ZIP Code

                                                    Describe the nature of the business                      Employer Identification number
    CCS Land Development LLC                                                                                 Do not include Social Security number or ITIN.
    Name
                                                                                                              EIN:   8     8 – 3   6    2   5   7   8   0


                                                    Name of accountant or bookkeeper                         Dates business existed
    3000 Smith St
    Number        Street
                                                                                                              From                 To
    Houston, TX 77006-3441
    City                    State   ZIP Code



Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 11
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Debtor 1            Charles             Littleton            Fridge, III                                     Case number (if known) 24-35056
                    First Name          Middle Name          Last Name

                                                Describe the nature of the business                  Employer Identification number
    3000 Smith GP Inc.                                                                               Do not include Social Security number or ITIN.
    Name
                                                                                                      EIN:   2   7 – 0     9    1   1   7   7   2


                                                Name of accountant or bookkeeper                     Dates business existed
    3000 Smith St
    Number     Street
                                                                                                      From                 To
    Houston, TX 77006-3441
    City                   State   ZIP Code

                                                Describe the nature of the business                  Employer Identification number
    3000 Smith, Ltd.                                                                                 Do not include Social Security number or ITIN.
    Name
                                                                                                      EIN:   2   6 – 3     7    6   1   9   3   1


                                                Name of accountant or bookkeeper                     Dates business existed
    3000 Smith St
    Number     Street
                                                                                                      From                 To
    Houston, TX 77006-3441
    City                   State   ZIP Code

                                                Describe the nature of the business                  Employer Identification number
    Verde Co2 CCS, LLC                                                                               Do not include Social Security number or ITIN.
    Name
                                                                                                      EIN:   8   8 – 3     1    9   4   6   7   6


                                                Name of accountant or bookkeeper                     Dates business existed
    3000 Smith St
    Number     Street
                                                                                                      From                 To
    Houston, TX 77006-3441
    City                   State   ZIP Code

                                                Describe the nature of the business                  Employer Identification number
    Verde Co2 CCS II, LLC                                                                            Do not include Social Security number or ITIN.
    Name
                                                                                                      EIN:   9   3 – 4     9    3   3   4   1   4


                                                Name of accountant or bookkeeper                     Dates business existed
    3000 Smith St
    Number     Street
                                                                                                      From                 To
    Houston, TX 77006-3441
    City                   State   ZIP Code

                                                Describe the nature of the business                  Employer Identification number
    CLF Property LLC                                                                                 Do not include Social Security number or ITIN.
    Name

                                                                                                      EIN:             –


                                                Name of accountant or bookkeeper                     Dates business existed
    3000 Smith St
    Number     Street
                                                                                                      From                 To
    Houston, TX 77006-3441
    City                   State   ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 12
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Debtor 1            Charles               Littleton                 Fridge, III                                 Case number (if known) 24-35056
                    First Name            Middle Name               Last Name

                                                    Date issued



    Name                                           MM / DD / YYYY



    Number        Street




    City                    State   ZIP Code




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Charles Littleton Fridge, III
           Signature of Charles Littleton Fridge, III, Debtor 1


           Date 12/06/2024




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑ Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                        Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 13
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 Fill in this information to identify your case:

  Debtor 1                  Charles                Littleton            Fridge, III
                           First Name              Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name          Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                       24-35056                                                                                          ✔ Check if this is an
                                                                                                                                      ❑
  (if known)                                                                                                                               amended filing


Official Form 122B
Chapter 11 Statement of Your Current Monthly Income                                                                                                           12/21
You must file this form if you are an individual and are filing for bankruptcy under Chapter 11 (other than Subchapter V). If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known).


 Part 1: Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
     ❑ Not married. Fill out Column A, lines 2-11.
     ❑ Married. Fill out both Columns A and B, lines 2-11.
     ✔ Married and your spouse is NOT filing with you. Fill out Column A, lines 2-11.
     ❑
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case.11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                                Column A           Column B
                                                                                                                Debtor 1           Debtor 2 or
                                                                                                                                   non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all                                         $0.00               $0.00
    payroll deductions).

 3. Alimony and maintenance payments. Do not include payments from a spouse.                                               $0.00               $0.00

 4. All amounts from any source which are regularly paid for household expenses of
    you or your dependents, including child support. Include regular contributions from
    an unmarried partner, members of your household, your dependents, parents, and
    roommates. Do not include payments from a spouse. Do not include payments you
    listed on line 3.                                                                                                      $0.00               $0.00

 5. Net income from operating a business, profession, or
    farm                                                                 Debtor 1         Debtor 2

     Gross receipts (before all deductions)                                   $0.00            $0.00

     Ordinary and necessary operating expenses                      -         $0.00   -        $0.00


     Net monthly income from a business, profession, or farm                  $0.00           $0.00    Copy
                                                                                                       here →              $0.00               $0.00

 6. Net income from rental and other real property                       Debtor 1         Debtor 2

     Gross receipts (before all deductions)                                   $0.00            $0.00

     Ordinary and necessary operating expenses                      -         $0.00   -        $0.00


     Net monthly income from rental or other real property                    $0.00           $0.00    Copy
                                                                                                       here →              $0.00               $0.00



Official Form 122B                                                Chapter 11 Statement of Your Current Monthly Income                                         page 1
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 Debtor 1                   Charles                        Littleton                         Fridge, III                             Case number (if known) 24-35056
                            First Name                     Middle Name                       Last Name




                                                                                                                          Column A             Column B
                                                                                                                          Debtor 1             Debtor 2 or
                                                                                                                                               non-filing spouse
       7. Interest, dividends, and royalties                                                                                         $0.00                  $0.00
       8. Unemployment compensation                                                                                                  $0.00                  $0.00
            Do not enter the amount if you contend that the amount received was a benefit
            under
            the Social Security Act. Instead, list it here: ..................................................   ↓
            For you....................................................................................          $0.00
            For your spouse......................................................................                $0.00
       9. Pension or retirement income. Do not include any amount received that was a
          benefit under the Social Security Act. Also, except as stated in the next sentence,
          do not include any compensation, pension, pay, annuity, or allowance paid by the
          United States Government in connection with a disability, combat-related injury or
          disability, or death of a member of the uniformed services. If you received any
          retired pay paid under chapter 61 of title 10, then include that pay only to the extent
          that it does not exceed the amount of retired pay to which you would otherwise be
          entitled if retired under any provision of title 10 other than chapter 61 of that title.                                   $0.00                  $0.00

      10. Income from all other sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act; payments
          received as a victim of a war crime, a crime against humanity, or international or
          domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by
          the United States Government in connection with a disability, combat-related
          injury or disability, or death of a member of the uniformed services. If necessary,
          list other sources on a separate page and put the total below.

             If necessary, list other sources on a separate page and put the total below.




            Total amounts from separate pages, if any.                                                                   +                      +

       11. Calculate your total average monthly income. Add lines 2 through 10 for                                                   $0.00      +          $0.00    =         $0.00
           each column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                        Total average
                                                                                                                                                                       monthly income




 Part 2: Sign Below




   By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


   ✘ /s/ Charles Littleton Fridge, III
       Signature of Debtor 1


       Date 12/06/2024
                  MM/ DD/ YYYY




Official Form 122B                                                                     Chapter 11 Statement of Your Current Monthly Income                                       page 2
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                                                 IN THE UNITED STATES BANKRUPTCY COURT
                                                       SOUTHERN DISTRICT OF TEXAS
                                                             HOUSTON DIVISION

IN RE: Charles Littleton Fridge III                                                    CASE NO 24-35056

                                                                                       CHAPTER 11




                                                                   AMENDED

                                                   VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      12/06/2024             Signature                         /s/ Charles Littleton Fridge, III
                                                                     Charles Littleton Fridge, III, Debtor
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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                  Southern District of Texas

In re        Charles Littleton Fridge III

                                                                                                                           Case No.                 24-35056

Debtor                                                                                                                     Chapter                      11


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

                                                                                                                                                    $750 per hour
        For legal services, I have agreed to accept ................................................................................................................................................

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                    $16,738.00

        Balance Due ................................................................................................................................................

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                  Page 1 of 2
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B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                 12/6/2024                                     /s/ Richard Fuqua
                Date                                         Signature of Attorney

                                                                               Fuqua & Associates, P.C.
                                                            Name of law firm




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